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                         IN THE UNITED STATES DISTRICT
                       COURT FOR THE NORTHERN DISTRICT
                          OF TEXAS FT. WORTH DIVISION


  EUGENIO VARGAS                     §
  Plaintiff/Counterclaim Defendant   §
                                     §
                                     §
                                     §
                                     §
                                     §                Case No. 4:22-CV-00430-Y
                                     §
                                     §
  ASSOCIATION OF                     §
  PROFESSIONAL FLIGHT                §
  ATTENDANTS, JULIE HEDRICK, §
  LARRY SALAS, ERIK HARRIS, §
  JOSH BLACK, IMA FINANCIAL §
  GROUP, INC.                        §
  Defendants/Counterclaim Plaintiff. §
                                     §

  PLAINTIFF’S MOTION FOR JOINDER AND MOTION FOR LEAVE TO AMEND
              COMPLAINT PURSUANT TO FED. R. CIV. P. 15(a)

TO THE HONORABLE JUDGE OF SAID COURT:
       PLEASE TAKE NOTICE that Plaintiff moves the Court, pursuant to Rule 15(a) and Rule

20 (a) of the Federal Rules of Civil Procedure, for an Order as follows:

       (1) Granting Plaintiff’s leave to file a Third Amended Complaint;

       (2) Issue Citations for service of process for the additional parties: Larry Salas, APFA

           National Vice-President, and Josh Black, APFA National Secretary, and IMA Financial

           Group, Inc. which issued surety bonds for the Plaintiff, and for the APFA National

           Officers.




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        Pursuant to Federal Rules of Civil Procedure §§ 20(a) and 15(a), Plaintiff, Ross, by and

through the undersigned counsel, respectfully moves to join the following additional parties and

claims asserted therein to the case before the court

        Fed. R. Civ. P. Rule § 20 (a) states “persons may join in one action if: (1) they assert any

right to relief jointly, severally, or in the alternative with respect to or arising out of the same

transaction, occurrence, or series of transactions or occurrences;” and “(2) any question of law or

fact common to all plaintiffs will arise in the action.” Fed. R. Civ. P. 20(a). This case raises issues

about the breach of fiduciary duty claims of Plaintiff’s union National Officers against Plaintiff.

Plaintiff asserts a right to relief jointly and severally and all questions of law and fact as to the

Plaintiff will arise in the action.

    Fed. R. Civ. P. § 15(a) states a party may amend his pleading once as a matter of course within

twenty-one days after serving it or, if the pleading is one to which a responsive pleading is required,

twenty-one days after service of a responsive pleading or twenty-one days after service of a Rule

12(b), whichever is earlier. Otherwise, a party may amend its pleading only with the opposing

party's written consent or the court's leave. Rule 15 provides that court should freely give leave to

amend when justice so requires. Plaintiff requests the court grant leave to amend and grant this

motion of joinder to include additional parties. Attached to this Motion is a Proposed Second

Amended Complaint marked as Exhibit 1. Attached to this Motion is a Proposed Second Amended

Certificate of Interested Parties marked as Exhibit 2.

        In support, Plaintiff submits Brief in Support of this Motion for Joinder and Motion for

Leave to Amend Complaint, which is incorporated herein and filed contemporaneously with this

Motion. Attached to the Brief in Support of Motion for Joinder and Motion for Leave to Amend

the Complaint and thereto marked as “Exhibit A” is the Affidavit of Eugenio Vargas in support of




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this Motion for Joinder and Motion for Leave to Amend the Complaint, which is being filed

contemporaneously with this notice or motion.

       This Motion is based upon all records and proceedings submitted in conjunction with this

Motion. Hereto attached and marked as “Exhibit 1” is a proposed Second Amended Complaint in

which Plaintiff respectfully requests the Court to grant Plaintiff’s Motion for Leave to File a

Second Amended Complaint.

    April 7, 2023
                                                Respectfully submitted,
                                                K.D. PHILLIPS LAW FIRM, PLLC

                                                By: /s/ Kerri Phillips
                                                    Kerri Phillips
                                                    Texas Bar No. 24065906
                                                    Phone: (972) 327-5800
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                                                     For Service of Filings:
                                                     notice@KDphillipslaw.com

                                                     ATTORNEY FOR PLAINTIFF

                             CERTIFICATE OF CONFERENCE
       I, Kerri Phillips, attorney for Plaintiff Eugenio Vargas, hereby certify that on the 7th day

of April 2023, I emailed for purposes of conference with Sanford Denison, counsel for Defendant

APFA, to inform each of them of the filing of this Motion. Counsel have not yet responded to

the filing of this Motion.




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                            CERTIFICATE OF SERVICE


        I certify that true and correct copy of this document was sent to all counsel of
record, hereunder listed via ECF filing on this the 7th day of April 2023.

William Osborne, Sanford Denison

                                                            /s/ Kerri Phillips
                                                           Kerri Phillips




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